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     Exhibit 21
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                                        New York Office                California Office                 www.mkwllp.com
                                        15 W. 26th Street, 7th Floor   450 Sansome Street, Suite 1005
                                        New York, New York 10010       San Francisco, California 94111
                                        Phone: 212-529-5131            Phone: 415-738-6228
                                        Fax: 212-529-5132              Fax: 415-738-2315


                                                                                                     Jason R. Bartlett
                                                                                                     (415) 738-6334
                                                                                              jbartlett@mkwllp.com

October 20, 2022

Thomas C. Werner, Esq. (TWerner@irell.com)
Yanan Zhao, Esq. (YZhao@irell.com)
Irell & Manella LLP
1800 Avenue of the Stars, Suite 900
Los Angeles, CA 90067-4276

VIA EMAIL

       Re: Netlist, Inc. v. Samsung Electronics Co., LTD. et al. (E.D. Tex.)

Counsel:

We are in receipt of two subpoenas purportedly directed to Montage Technology Co., Ltd.
by way of service on a subsidiary, Montage Technology, Inc.

As Netlist knows, Montage Technology Co., Ltd. is a Chinese corporation located in
Shanghai and Montage Technology, Inc. is a California corporation located in San Jose.
Montage Technology, Inc. is a subsidiary of Montage Technology Co., Ltd.

Montage Technology, Inc. has produced various documents relating to the corporate
structure of the Montage entities, including a Service Agreement (MON 1374-1385)
between it and Montage Technology Macao Commercial Offshore Ltd. That entity is a
subsidiary of Montage Technology Holding Company Limited (Cayman), which is a
subsidiary of Montage Technology Co., Ltd.

The Service Agreement states that Montage Technology, Inc. is an independent contractor
and that the parties are not agents of each other (Art. 19). Montage Technology, Inc. is also
not otherwise authorized to accept service on behalf of Montage Technology Co., Ltd.
Likewise, MKW LLP is not authorized to accept service on behalf of Montage Technology
Co., Ltd.

Of course, service on a subsidiary does not effectuate service on a parent company.
Moreover, Montage Technology Co., Ltd. does not conduct business in the Northern District
of California, nor does it have sufficient contacts to be amenable to personal jurisdiction in
the District, so the subpoena could not be enforced even if service was somehow deemed
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Mauriel Kapouytian Woods LLP
October 20, 2022
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proper. Additionally, Montage Technology Co., Ltd. is a resident of Shanghai, so the
purported places for compliance (San Jose and San Francisco) are approximately 6,000
miles away, far more than the 100 miles allowed by Rule 45(c). We also note that the
subpoenas ignore well-established conventions and procedures relating to obtaining
discovery from foreign companies, including companies in China.

For at least these reasons, service of the subpoenas is ineffective under Rule 45(b).
Nevertheless, if Netlist believes that it has properly served Montage Technology Co., Ltd.,
please provide a detailed written explanation for its position, including citations to facts
and case law. That would include citations for the proposition that foreign companies are
subject to discovery under Rule 45 in the first place. See Viasat, Inc. v. Space Sys./Loral, LLC,
2014 WL 12577593, at *5 (S.D. Cal. June 30, 2014) (a foreign corporation “is not a United
States national or resident and therefore cannot be served with a subpoena under Rule
45.”).

Because the subpoenas have not been properly served, there is no need for Montage
Technology Co., Ltd. to provide written responses or objections, but it reserves its right to
do so in the unlikely event that Netlist can show that service is proper.

Additionally, the subpoenas are not directed to Montage Technology, Inc., so no response is
required. But to the extent written objections to the subpoenas are required of Montage
Technology, Inc., the objections to the substantively identical subpoenas to it are
incorporated by reference.

                                                    Sincerely,

                                                    Jason R. Bartlett
